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                                           UNITED STATES DISTRICT COURT
                                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                         Plaintiff,

v.                                                                Case No. 08-20241-2

MARY MITCHELL,



           Defendant.
___________________________________/

                            ORDER SETTING SENTENCING AND DEADLINE DATES
                                AND IMPOSING OTHER RESPONSIBILITIES

            The Defendant having been convicted and referred to the Probation Department for

the preparation of a Presentence Report (PSR), IT IS ORDERED as follows:

1)          Sentence will be imposed on January 8, 2009 at 2:00 pm.

2)          On or before November 20, 2008 the PSR must be submitted to counsel by the

            Probation Officer for review and possible objections.

3)          On or before December 4, 2008, any PSR objection must be stated to the

            Probation Officer (but cannot be filed on the docket). In stating an objection, counsel

            must use a format substantially similar to the attached Addendum. A purported PSR

            objection originating in a letter, an e-mail, a “sentencing memorandum,” etc., will be

            rejected by the Probation Officer and returned to the party who provided it.

4)          On or before December 18, 2008, the proposed final form of the PSR must be

            delivered to the court by the Probation Department.

5)          Not later than December 26, 2008, any request by either party for a departure or

            variance from the Guidelines range must be presented in the form of a motion with
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            a supporting brief.1

6)          Not later than SEVEN DAYS before sentencing, any opposition to the other party’s

            motion for departure or variance motion must be filed.

7)          A Sentencing Memorandum is optional,2 but due SEVEN DAYS before

            sentencing.

8)          Counsel must provide a copy of any motion, opposition or memorandum to

            the Probation Officer.

9)          Allocution at sentencing will ordinarily not exceed five minutes for Defendant’s

            counsel, five minutes for Defendant and five minutes for government counsel.

Date: September 4, 2008
                                                                  s/Robert H. Cleland
                                                                  ROBERT H. CLELAND
                                                                  United States District Judge




            1
          The court is obligated at sentencing to state reasons setting forth “enough to
satisfy the appellate court that [it] has considered the parties' arguments and has a
reasoned basis for exercising [its] own legal decision making authority. Rita v. U.S. 127
S.Ct. 2456, 2468 (2007). Therefore, if either party in this case intends to “present[ ]
nonfrivolous reasons for imposing a different sentence” from that predicted by the
correctly-calculated Guideline range, the court intends to “explain why [it] has rejected
those arguments,” Id., if it does, indeed, reject them. In order to permit such
consideration and explanation, the presentation of reasons must be done in advance.
            2
         Sentencing memoranda are ordinarily reviewed by the court in the few days
leading to sentencing. Counsel cannot use a sentencing memorandum as a substitute
for a motion for a USSG departure or 18 USC §3553(a)(2) variance in sentence.
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                                                        SAMPLE
                                              PRESENTENCE REPORT ADDENDUM

Defendant’s name:                                                 Page #:
Docket #:                                                         Paragraph #:
Date:                                                             Line(s) #:
Objection #:

Section I: Defendant’s/Government’s objection:




_____________________________                                     _____________________________
Attorney’s signature          (or)                                Defendant’s signature     (or both)

Section II: Probation officer’s comments:




                                           Instructions for counsel
                          (not to be replicated on the Addendum to be submitted)
1)          Provide objections directly to the Probation Officer. Do not file them with the Clerk.

2)          Any objection and any claim that a guideline or application note has been incorrectly
            applied or omitted must be accompanied by a clear explanation. Saying that “the defendant
            disputes” a fact, without providing an alternate explanation or reference to specific evidence
            in the record or discovery, is generally unavailing. Saying that “the defendant states”
            something without pointing to evidence in the record is a similar gesture.

3)          Do not use the Addendum format or the formal “objection” process merely to claim a minor
            factual error, i.e., one that has no effect on guideline calculations nor forms the basis for a
            departure (such factual claims may be presented to the Probation Officer by letter or
            memorandum), to point out a mechanical result or an alternate guideline calculation that
            depends on the resolution of a challenged factual item, or to“object” to required PSR
            comments such as factors for possible departure. Such matters may be presented to the
            court in the form of a sentencing memorandum. Always provide a copy to the Probation
            Officer.

3)          When a party has presented a material objection that has not been accepted by the
            Probation Officer and remains for resolution by the court, any opposition must expressed in
            writing whether or not the court specifically orders a response. Always provide a copy to the
            Probation Officer. Responses should correspond to the numbering of the objection(s) and
            clearly explain the party’s position on the facts and the law.

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